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                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                   Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  25-145
Docket Number(s): ________________________________________                  _______________Caption [use short title]_____________________
            The SEC's answer to a petition for permission
Motion for: ______________________________________________
to appeal is due January 31, 2025, and the SEC requests a
________________________________________________________
two-week extension on consent.
________________________________________________________

Set forth below precise, complete statement of relief sought:
The U.S. Securities and Exchange Commission respectfully moves
________________________________________________________
                                                                             Coinbase, Inc. v. Securities and Exchange Commission
for a 14-day extension of time to file its answer to Coinbase's petition
________________________________________________________
for permission to appeal pursuant to 28 U.S.C. 1292(b), which would
________________________________________________________
move the Commission's due date from January 31, 2025,
________________________________________________________
to February 14, 2025.
________________________________________________________

________________________________________________________
                                                                    Coinbase, Inc., Coinbase Global, Inc.
             U.S. Securities and Exchange Commission OPPOSING PARTY:____________________________________________
MOVING PARTY:_______________________________________

          ___Plaintiff                ___Defendant

          ___Appellant/Petitioner      ✔
                                      ___Appellee/Respondent

                David D. Lisitza
MOVING ATTORNEY:___________________________________                                 Jeffrey B. Wall
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
U.S. Securities and Exchange Commission
________________________________________________________ Sullivan & Cromwell LLP
                                                         _______________________________________________________________
100 F Street, N.E., Washington, D.C. 20549
________________________________________________________ 1700 New York Avenue, N.W., Suite 700, Washington, D.C. 20006
                                                         _______________________________________________________________
202-551-5015, lisitzad@sec.gov
________________________________________________________ 202-956-7500, wallj@sullcrom.com
                                                         _______________________________________________________________
                                    The United States District Court for the Southern District of New York, No. 23-cv-4738 (Failla, J.)
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes     ___No (explain):__________________________              Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                    Requested return date and explanation of emergency: ________________
                                                                           _____________________________________________________________
Opposing counsel’s position on motion:
                                                                           _____________________________________________________________
          ✔
         ___Unopposed    ___Opposed ___Don’t Know
                                                                           _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                           _____________________________________________________________
                    ✔
         ___Yes ___No        ___Don’t Know


Is oral argument on motion requested?                  ✔ (requests for oral argument will not necessarily be granted)
                                               ___Yes ___No

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
/s/ David D. Lisitza
_________________________________      01/23/2025
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




Form T-1080 (rev.12-13)
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                     25-145
 UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                 COINBASE, INC., COINBASE GLOBAL, INC.,
                                Petitioners,
                                     v.
      UNITED STATES SECURITIES AND EXCHANGE COMMISSION,
                           Respondent.

                 On Appeal from the United States District Court
        for the Southern District of New York, No. 23-cv-4738 (Failla, J.)

         UNOPPOSED MOTION FOR EXTENSION OF TIME
   TO FILE ANSWER TO PETITION FOR PERMISSION TO APPEAL
               PURSUANT TO 28 U.S.C. § 1292(b)


      Pursuant to Federal Rules of Appellate Procedure 26(b) and 27 and Second

Circuit Rule 27.1, the U.S. Securities and Exchange Commission respectfully

moves for a 14-day extension of time, until February 14, 2025, to file its answer to

Coinbase, Inc.’s and Coinbase Global, Inc.’s (“Coinbase”) petition for permission

to appeal pursuant to 28 U.S.C. § 1292(b). This motion is time sensitive because

the default due date for the Commission’s answer is January 31, 2025. In

accordance with Second Circuit Rule 27.1, the Commission’s counsel has

conferred with counsel for Coinbase, which does not oppose the Commission’s

extension request.
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      1.     On January 7, 2025, the district court issued an order (Dkt. 175)

granting Coinbase’s motion under 28 U.S.C. § 1292(b) to certify the district court’s

March 26, 2024 opinion and order (Dkt. 105) that had granted in part and denied in

part Coinbase’s motion for judgment on the pleadings.

      2.     On January 17, 2025, Coinbase filed its petition to this Court under 28

U.S.C. § 1292(b) for permission to appeal the March 26, 2024 opinion and order.

App. Dkt. 1. Coinbase’s petition was timely filed within ten days after the entry of

the January 7, 2025 order. See 28 U.S.C. § 1292(b); Fed. R. App. P. 5(a)(2) &

26(b)(1). Coinbase served the Commission on January 21, 2025. App. Dkt. 1 at

33.

      3.     Under Federal Rule of Appellate Procedure 5(b)(2), the Commission

“may file an answer” to Coinbase’s petition “within 10 days after the petition is

served,” making the Commission’s answer due January 31, 2025.

      4.     The Commission requests a 14-day extension of time to file its answer

to Coinbase’s petition, which would move the Commission’s due date from

January 31, 2025, to February 14, 2025.

      5.     Section 1292(b)’s 10-day deadline for the filing of a petition

requesting permission to appeal governs the transfer of adjudicatory authority to

the court of appeals and therefore “may not” be extended. Fed. R. App. P.

26(b)(1); see Casey v. Long Island R. Co., 406 F.3d 142, 146 (2d Cir. 2005) (The


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“ten-day window specified by § 1292(b) is mandatory” and it is “beyond the power

of this Court to enlarge that period.”) (cleaned up). But now that Coinbase’s

petition has been timely lodged here, this Court “may extend the time” for the

Commission to answer the petition beyond the 10 days provided under Federal

Rule of Appellate Procedure 5(b)(2), for “good cause.” Fed. R. App. P. 26(b)

(emphasis added).

      6.     There is good cause for the Commission’s requested extension. The

Commission’s answer will involve internal consultation and must go through

multiple layers of review. However, the current deadline falls only eleven days

after the transition of Commission leadership that took place on January 20, 2025.

The requested extension will provide adequate time for the Commission to prepare

its answer to Coinbase’s petition to appeal and for appropriate review. It will also

provide additional time to consider the arguments raised in the amicus briefs filed

in support of Coinbase’s petition for permission to appeal. See App. Dkt. 10, 13.

      7.     No party will be prejudiced by the grant of the requested extension.

This is the Commission’s first request for an extension, this is not an expedited

appeal, and Coinbase does not oppose this motion.




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Dated: January 23, 2025             Respectfully submitted,


                                    TRACEY A. HARDIN
                                    Solicitor

                                    /s/ David D. Lisitza
                                    DAVID D. LISITZA
                                    Senior Appellate Counsel

                                    EZEKIEL L. HILL
                                    Appellate Counsel

                                    U.S. Securities and Exchange Commission
                                    100 F Street, N.E.
                                    Washington, D.C. 20549
                                    202-551-5015 (Lisitza)




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                                CERTIFICATIONS

I hereby certify that:

      1.     This motion complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d)(2)(A) because it contains 540 words.

      2.     This motion complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6), as required by Federal Rule of Appellate

Procedure 27(d)(1)(E), because it has been prepared in a proportionally spaced

typeface using Microsoft Office Word in 14-Point Times New Roman.

      3.     I electronically filed the foregoing with the Clerk of the Court for the

United States Court of Appeals for the Second Circuit by using the ACMS system.

      4.     All participants in the case are registered ACMS users and that service

will be accomplished by the ACMS system.


                                       /s/ David D. Lisitza
                                       DAVID D. LISITZA
                                       U.S. Securities and Exchange Commission
                                       100 F Street, N.E.
                                       Washington, D.C. 20549
                                       202-551-5015 (Lisitza)
Dated: January 23, 2025
